Case 1:17-cr-20516-UU Document 27 Entered on FLSD Docket 08/06/2018 Page 1 of 1




                            UN ITED STATES DISTRICT COURT
                            SOU TH ERN D ISTRICT O F FLO RID A
                             CASE.17-20516-CR-UNGARO

UNITED STATES OF AM ERICA,

               Plaintiff,


LUIS GUSTAVO M ORENO RIVERA
LEONARDO LUIS PINILLA GOM EZ,

             Defendant.
                                   /


                            O R D ER SETTIN G PLEA D ATE

       THIS M ATTER ishereby setforPleabeforetheHon.UrsulaUngaro atthe United States

DistrictCourt,Eleventh FloorCourtroom ,400 North M iamiAvenue, 12-4 M inm i,Florida on

AU G U ST 14,2018 at11:00 A .M .

       DON E and ORDERED in Cham bersattheUnited StatesDistrictCourt,M iam i, Florida

this     day ofA ugust,2018.




                                                     LA UN GARO
                                                UN ITED STATES D ISTRI       JU D GE



cc: Counselofrecord
